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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    AMYRIS, INC., et al.,1                                          Case No. 23-11131 (TMH)


                     Debtors.                                       (Jointly Administered)

                                                                    Re: Docket No. 334



                       NOTICE OF FILING OF REVISED ORDER
                   REGARDING APPLICATION OF THE OFFICIAL
                   COMMITTEE OF UNSECURED CREDITORS FOR
              ENTRY OF AN ORDER (I) AUTHORIZING THE RETENTION
         AND EMPLOYMENT OF JEFFERIES LLC AS INVESTMENT BANKER
     PURSUANT TO 11 U.S.C. §§ 328(a) AND 1103(a), EFFECTIVE AS OF SEPTEMBER
        1, 2023 AND (II) WAIVING CERTAIN TIME-KEEPING REQUIREMENTS

             The undersigned proposed counsel hereby certifies as follows:

             1.     On September 20, 2023, the undersigned proposed counsel to the Official

Committee of Unsecured Creditors (the “Committee”) filed the Application of the Official

Committee of Unsecured Creditors for Entry of an Order (I) Authorizing the Retention and

Employment of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C. §§ 328(A) and 1103(A),

Effective as of September 1. 2023 and (II) Waiving Certain Time-Keeping Requirements [D.I. 334]

(the “Application”), including a proposed form of order (the “Proposed Order”).

             2.     Objections or responses to the Application are required to be filed with the Court

on or before October 4, 2023, at 4:00 p.m. (ET).



1
      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
      principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
      100, Emeryville, CA 94608.
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         3.    The Committee received informal comments to the Application from the United

States Trustee (the “U.S. Trustee”). The Committee resolved the U.S. Trustee’s comments through

the filing of the First Supplemental Declaration of Leon Szlezinger in Support of the Application

if the Official Committee of Unsecured Creditors for Entry of an Order (I) Authorizing the

Retention and Employment of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C. §§ 328(a)

and 1103(a) Effective as of September 1, 2023 and (II) Waiving Certain Time-Keeping

Requirements (the “Supplemental Declaration”), filed contemporaneously herewith, and through

certain revisions to the Proposed Order.

         4.    A revised form of order incorporating the U.S. Trustee’s comments is attached

hereto as Exhibit A (the “Revised Order”). A blackline of the Revised Order against the Proposed

Order is attached hereto as Exhibit B.

         5.    Counsel to the U.S. Trustee has confirmed that the U.S. Trustee’s informal

comments have been resolved through the filing of the Supplemental Declaration and the Revised

Order.

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Dated: September 30, 2023          Respectfully submitted,

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                                   Proposed Counsel for the Official Committee of
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